         CASE 0:17-cr-00157-MJD-HB Doc. 76 Filed 03/27/18 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Criminal No. 17-157 (01) (MJD/HB)


UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )        GOVERNMENT’S RESPONSE TO
                                          )        DEFENDANT’S MOTION FOR AN
              v.                          )        EXAMINATION AND HEARING
                                          )        PURSUANT TO 18 U.S.C. § 4244
TODD SEAVER KNUTSON,                      )
                                          )
                     Defendant.           )


       The United States of America, by and through its attorneys, Gregory G. Brooker,

United States Attorney for the District of Minnesota, and Assistant U.S. Attorney Andrew

Dunne, hereby submits its response to the Defendant’s motion for a psychiatric or

psychological examination and hearing under 18 U.S.C. §§ 3552(c) and 4244 in the above

captioned matter.

                    FACTS AND PROCEDURAL BACKGROUND

       On June 6, 2017, the FBI Safe Streets Task Force and St. Paul Police obtained a

state search warrant for the Defendant Todd Seaver Knutson and his residence located at

890 Arkwright Street N. in St. Paul. See Report and Recommendation (R&R) at 5-6 (ECF

Docket Entry No. 61). On the morning of June 6, because of information previously

received about the Defendant and concern for officer safety, law enforcement initiated

surveillance at 890 Arkwright wanting to approach the Defendant outside of the residence

before executing the search warrant in order to avoid a potentially violent stand-off. Id. at

7. The officers also had a verbal felony domestic violence/probable cause pick-up for the
          CASE 0:17-cr-00157-MJD-HB Doc. 76 Filed 03/27/18 Page 2 of 4




Defendant issued out of the Ramsey County family violence unit. Law enforcement

officers observed the Defendant leave the residence on a motorcycle and proceed to a near-

by Super America (SA) gas station. Id. When law enforcement approached the Defendant

in front of the SA gas station, he fled from the officers on foot, running all the way around

the gas station and back out onto Maryland Avenue where he was subsequently

apprehended. Law enforcement conducted a search of the area of the Defendant’s flight

and recovered cash they suspected that the Defendant had dropped while he was running

away. Surveillance video from the SA was reviewed on June 7 and it showed the

Defendant throwing something in the air as he was running away from the police. An

additional search of the area was then conducted and a Lorcin .25 caliber handgun was

located on the roof of the SA gas station. Id. at 7-8.

       Following apprehension of the Defendant, officers executed the search warrant at

890 Arkwright. See R&R at 8. During the search, law enforcement recovered numerous

items relevant to their investigation including the following: a large quantity of

methamphetamine; a back-pack containing a large amount of shotgun ammunition;

multiple mailings in the name of Todd Knutson (listing a different address); an ammo box

full of ammunition; six firearms including a 9mm handgun, two Ruger Vaquero .45 caliber

handguns, a MAK-90 7.62mm assault rifle, a Master Piece Arms MAC-10 .45 caliber

handgun/machine pistol, and a Marlin .22 caliber rifle; two MAK-90 magazines, fully

loaded and taped together; two MAC-10 magazines, fully loaded and taped together; and

a bullet-proof vest laying on top of the assault rifle. The officers also recovered two digital

scales (commonly used to weigh narcotics), a quantity of U.S. currency, and two cellular

                                              2
         CASE 0:17-cr-00157-MJD-HB Doc. 76 Filed 03/27/18 Page 3 of 4




telephones. Id. The residence also had a home surveillance system including multiple

cameras both inside and outside of the residence.

       On July 11, 2017, the Defendant was charged in a two-count Indictment with being

a convicted felon in possession of a firearm in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(2). On August 8, 2017, a Superseding Indictment was returned by the grand jury

adding a third count that charged the Defendant with possession, with intent to distribute,

500 grams or more of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(A).

       On January 11, 2018, the Defendant appeared before this Court and entered a guilty

plea to Count 3 of the Superseding Indictment. This Court remanded the Defendant to the

custody of the U.S. Marshal and directed the U.S. Probation and Pretrial Services Office

to prepare a Presentence Report in the matter. Following the entry of his guilty plea, the

defendant sent two handwritten pro se letters to this Court dated February 14 and March

12, 2018.      The Defendant subsequently submitted the instant motion requesting a

psychological or psychiatric examination and hearing pursuant to 18 U.S.C. §§ 3552(c)

and 4244(a).

                                     DISCUSSION

       18 U.S.C. § 3552(c) provides as follows:

               If the court, before or after its receipt of a [PreSentence]
        report…desires more than is otherwise available to it as a basis for
        determining the mental condition of the defendant, the court may order
        the same psychiatric or psychological examination and report thereon as
        may be ordered under section 4244(b)…

See 18 U.S.C. § 3552(c).

                                            3
         CASE 0:17-cr-00157-MJD-HB Doc. 76 Filed 03/27/18 Page 4 of 4




       In turn, 18 U.S.C. § 4244 provides the appropriate procedures to be followed where

the hospitalization and commitment of a convicted person suffering from a mental disease

or defect may be in order. See also United States v. Jensen, 639 F.3d 802, 805 (8th Cir.

2011) (setting forth the procedures to be followed by the court under the statute). Sections

4244 (a) and (b) specifically provide that a court may “order that a psychiatric or

psychological examination of a defendant be conducted” and a “report be filed with the

court” to determine whether the defendant is “presently suffering from a mental disease or

defect” for which he is in need of commitment to an appropriate medical facility. See 18

U.S.C. §§ 4244 (a) and (b). Following the preparation of such a report, a hearing may be

held before the court pursuant to 18 U.S.C. § 4244(c).

                                     CONCLUSION

       In light of all the facts in this case, and pursuant to the provisions set forth in 18

U.S.C. §§ 3552(c) and 4244, the United States has no objection to the Defendant’s request

for such a psychological or psychiatric examination, report and hearing.

                                                 Respectfully Submitted,
Dated: March 27, 2018
                                                 GREGORY G. BROOKER
                                                 United States Attorney

                                                 s/ Andrew Dunne

                                                 BY: ANDREW DUNNE
                                                 Assistant U.S. Attorney
                                                 Attorney ID No. 175195




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